 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR
 9004-1(b) Marianna Udem
 Brigette McGrath
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 New York, NY 10165
 Telephone: (212) 267-7342
 Facsimile: (212) 918-3427                                                     Order Filed on August 8, 2024
 mudem@askllp.com                                                              by Clerk
 bmcgrath@askllp.com                                                           U.S. Bankruptcy Court
                                                                               District of New Jersey
 Special Counsel to the Plan Administrator

    In re:

    BED BATH & BEYOND, INC., et al.,1

                                    Debtor.

                                                                     Chapter 11
    Michael Goldberg, as Plan Administrator for
    20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath &                 Case No. 23-13359 (VFP)
    Beyond Inc.),2
                                           Plaintiff,
                                                                     (Jointly Administered)
    v.

    Defendants Listed on Exhibit “1,”
                                                Defendants.




DATED: August 8, 2024




1
 The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
650 Liberty Avenue, Union, New Jersey 07083.
2
  Pursuant to the Certificate of Amendment of the Certificate of Incorporation of Bed Bath & Beyond Inc., which was
filed with the State of New York Department of State on September 21, 2023, the name of the entity formerly known
as “Bed Bath & Beyond Inc.” was changed to 20230930-DK-Butterfly, Inc. [Filing ID No. 230921001833 DOS ID
315602].


                                                         1
              ORDER GRANTING MOTION FOR ORDER ESTABLISHING
              STREAMLINED PROCEDURES GOVERNING ADVERSARY
              PROCEEDINGS BROUGHT BY PLAINTIFF PURSUANT TO
         SECTIONS 502, 542, 547, 548, 549, AND 550 OF THE BANKRUPTCY CODE

        Upon the Motion for Order Establishing Streamlined Procedures Governing Adversary

Proceedings Brought by Plaintiff Pursuant to Sections 502, 542, 547, 548, 549, and 550 of the

Bankruptcy Code, (the “Procedures Motion”),3 filed by Michael Goldberg, as Plan Administrator

for 20230930-DK-Butterfly-1, Inc. (f/k/a/ Bed Bath & Beyond Inc.) (the “Plaintiff” or “Trustee”),

by and through his undersigned counsel, for entry of a procedures order (the “Procedures Order”)

pursuant to section 105 of title 11 of the United States Code (the “Bankruptcy Code”), Rules 7012,

7016, 7026, and 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

and Rules 7016-1 and 9019-2 of the Local Rules of Bankruptcy Practice and Procedure of the

United States Bankruptcy Court for the District of New Jersey (the “Local Rules”), establishing

streamlined procedures governing all adversary proceedings brought by Plaintiff under sections

502, 542, 547, 548, 549, and 550 of the Bankruptcy Code, which are identified in Exhibit 1

attached hereto (each an “Avoidance Action,” collectively, the “Avoidance Actions”); and this

Court having jurisdiction to consider and determine the Procedures Motion as a core proceeding

in accordance with 28 U.S.C. §§ 157 and 1334; and any objections raised and heard at a hearing

at which all parties were permitted to present their arguments and contentions; and it appearing

that the relief requested by the Procedures Motion is necessary and in the best interests of the

parties; and due notice of the Procedures Motion having been provided; and it appearing that no

other or further notice of the Procedures Motion need be provided; and sufficient cause appearing

therefore, it is hereby:


3
 Capitalized terms not otherwise defined herein shall have the same meaning ascribed to them as in the Procedures
Motion.


                                                        2
    ORDERED, that the Procedures Motion be, and hereby is, granted in all respects as set forth

herein; and it is further

    ORDERED, the procedures governing all parties to the Avoidance Actions are as follows:




                                               3
A.        Effectiveness of the Procedures Order

     1.      This Procedures Order approving the Procedures Motion shall apply to all
             Defendants in the Avoidance Actions.

     2.      This Order will not alter, affect or modify the rights of Defendants to seek a
             jury trial or withdraw the reference, or otherwise move for a determination on
             whether the Court has authority to enter a final judgment, or make a report and
             recommendation, in an adversary proceeding under 28 U.S.C. § 157, and all
             such rights of the Defendants shall be preserved unless otherwise agreed to in a
             responsive pleading.

B.        Extensions to Answer or File Other Responsive Pleading to the Complaint

     3.      The time to file an answer or other responsive pleading to a complaint filed in
             an Avoidance Action shall be extended by 60 days such that an answer or other
             responsive pleading is due within 90 days after the issuance of the summons
             rather than 30 days after the issuance of the summons.

C.        Waiver of Requirement to Conduct Pretrial Conference

     4.      Federal Rule of Civil Procedure 16, made applicable herein pursuant to
             Bankruptcy Rule 7016 and Local Rule 7016-1 (i.e., pretrial conferences), is
             hereby waived and not applicable with respect to the Avoidance Actions.
             Neither the Plaintiff nor any Defendant shall be required to appear at the initial
             pretrial conference or any subsequently scheduled pretrial conferences.

D.        Waiver of Requirement to Conduct Scheduling Conference

     5.      Federal Rule of Civil Procedure 26(f), made applicable herein pursuant to
             Bankruptcy Rule 7026 and Local Rule 7016-1 (conferring before pretrial
             conference/discovery plan), is hereby waived and is not applicable to the
             Avoidance Actions except as otherwise set forth in Paragraph 6(i) and (ii) of
             this Order. Thus, the parties to the Avoidance Actions shall not be required to
             submit a written report as may otherwise be required under Federal Rule of
             Civil Procedure 26(f) or a Joint Order Scheduling Pretrial Proceedings and Trial
             as required under Local Rule 7016-1.

E.        Discovery, Mediation, and Dispositive Motion Schedule

     6.      The parties’ obligation to conduct formal discovery in each Avoidance Action
             shall be, and hereby is, stayed until the Mediation Process is concluded;
             provided that the stay of formal discovery shall in no way preclude, with respect
             to any Avoidance Action, the Plaintiff and applicable Defendant from
             informally exchanging documents and information in an attempt to resolve such
             Avoidance Action in advance of, or during, the Mediation Process; provided
             further, that the proposed stay also will not preclude either party from
             requesting pre-mediation formal discovery. If any party to an Avoidance Action
             requests pre-mediation formal discovery, then:




                                                   4
     i.         Should the non-requesting party consent to pre-mediation formal discovery,
                the parties shall conduct a Rule 26(f) conference and submit a discovery
                scheduling order to the Court (each such order, a “Scheduling Order”) that
                will provide for the completion of fact and expert discovery in advance of
                mediation; and

     ii.        If the non-requesting party does not consent to pre-mediation formal
                discovery:

           a.      The requesting party may request relief from the stay of discovery by
                   filing with the Court (with copy to chambers and to the other party to
                   the Avoidance Action) a letter, not to exceed two pages including
                   exhibits, outlining the dispute;

           b.      Any reply to such letter (if any) must be filed with the Court (with copy
                   to chambers and to the other party to the Avoidance Action) within two
                   business days after the filing of the letter set forth in Paragraph 6.ii.a.
                   above and shall also be no longer than two pages, including exhibits;

           c.      The Court will inform the parties if it requires a conference call or
                   formal motion to resolve the dispute; and

           d.      Upon resolution of the dispute, either by agreement of the parties or at
                   the direction of the Court, the parties shall either (a) continue with
                   informal discovery and the Mediation Process; or (b) conduct a Rule
                   26(f) conference and submit a Scheduling Order to the Court.

7.         Any open Avoidance Actions that have not been resolved and/or settled by
           September 2, 2024 (the “Remaining Avoidance Actions”), shall be referred to
           mandatory mediation (except with respect to any Avoidance Action as to which
           a Scheduling Order has been entered as provided in Paragraph 6 of this Order).

8.         Between September 3, 2024 and September 10, 2024, Defendants in the
           Remaining Avoidance Actions shall choose a mediator from the list (the
           “Mediator List”) of proposed mediators (each a “Mediator,” collectively, the
           “Mediators”), attached to the Procedures Motion as Exhibit C. Concurrently,
           Defendants in the Remaining Avoidance Actions shall notify Plaintiff’s counsel
           of the Defendant’s choice of Mediator by contacting Plaintiff’s counsel’s
           paralegal, Laurie N. Miskowiec, in writing, via email at
           lmiskowiec@askllp.com. If a Defendant in a Remaining Avoidance Action
           does not timely choose a Mediator from the Mediator List and notify Plaintiff’s
           counsel of the same, Plaintiff will assign such Remaining Avoidance Action to
           one of the Mediators from the Mediator List.

9.         Upon notification of such selection or assignment, the selected Mediator shall
           have an opportunity to run conflict checks on the Defendant(s) and, in the event
           of a conflict, may abstain from acting in the particular mediation. Once the
           mediator selection period closes and a Mediator is selected or assigned, as
           applicable, the Plaintiff will file a notice of mediation indicating which
           mediator was selected.




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10.   On September 11, 2024, Plaintiff, working with the Mediators, will commence
      scheduling mediations. Each Mediator will provide to Plaintiff the dates on
      which the Mediator is available for mediation and the parties shall cooperate
      with the Mediators and each other regarding the scheduling of mediations.
      Plaintiff’s counsel shall contact Defendant or Defendant’s counsel with a list of
      proposed dates for mediation provided by the mediator. Mediation will then be
      scheduled on a first-come, first-served basis.

11.   Plaintiff will give at least 21 days written notice of the first date, time, and place
      of the mediation in each Remaining Avoidance Action (the “Mediation
      Notice”), which notice shall be served on the applicable Defendant.

12.   Within 7 calendar days after the conclusion of the mediation, the Mediator shall
      file a Local Form Mediation Report (the “Mediator’s Report”) in the Remaining
      Avoidance Action, which shall be limited to stating only whether the
      Remaining Avoidance Action settled or did not settle.

13.   All mediations of the Remaining Avoidance Actions must be concluded by
      December 31, 2024.

14.   Any open Avoidance Actions shall be required to provide the disclosures
      required under Bankruptcy Rule 7026(a)(1) (the “Initial Disclosures”) on or
      before January 31, 2025.

15.   All written interrogatories, document requests, and requests for admission, if
      any, may be served upon the adverse party any time after the Mediator’s Report
      is filed. All written interrogatories, document requests, and requests for
      admission, if any, must be served upon the adverse party concurrently with the
      deadline to provide Initial Disclosures or no later than January 31, 2025.

16.   The parties to the Avoidance Actions shall have through and including April
      30, 2025, to complete non-expert fact discovery, including depositions of fact
      witnesses.

17.   Should a discovery dispute arise, the complainant shall file with the Court a
      letter outlining said issues and forward a copy to chambers. Respondent must
      reply within 2 business days. The letter, excluding exhibits, shall be no longer
      than 2 pages. The Court shall then inform the parties if it will require a
      conference call or formal motion.

18.   Under the provisions of Federal Rule of Civil Procedure 26(a)(2), made
      applicable herein pursuant to Bankruptcy Rule 7026, disclosures and reports of
      the parties’ case-in-chief experts, or experts and reports concerning an issue to
      which the party bears the burden of proof, if any, shall be made to the adverse
      party on or before June 30, 2025.

19.   Under the provisions of Federal Rule of Civil Procedure 26(a)(2), made
      applicable herein pursuant to Bankruptcy Rule 7026, disclosures and reports of
      the parties’ rebuttal experts, if any, shall be made to the adverse party on or
      before July 31, 2025.

20.   All expert discovery, including expert witness depositions, shall be concluded
      on or before August 29, 2025.


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     21.      All dispositive motions shall be filed and served by September 30, 2025. Local
              Rule 7056-1 shall apply.

F.         Mediation Procedures and Requirements

     22.      The mediations will be held via video conference unless the parties and
              Mediator agree to conduct an in-person mediation. Local Rule 9019-2 shall
              govern the mediations, except as otherwise set forth herein.

     23.      The parties in each Remaining Avoidance Action will participate in the
              mediation, as scheduled and presided over by the chosen Mediator, in good faith
              and with a view toward reaching a consensual resolution. At least one counsel
              for each party and a representative of each party having full settlement
              authority shall attend the mediation via video conference.

     24.      The Mediator will preside over the mediation with full authority to determine
              the nature and order of the parties’ presentations, and the rules of evidence will
              not apply. Each Mediator may implement additional procedures which are
              reasonable and practical under the circumstances.

     25.      The Mediator, in the Mediation Notice (by language provided to Plaintiff by the
              Mediator) or in a separate notice that need not be filed, may require the parties
              to provide to the Mediator any relevant papers and exhibits, a statement of
              position, and a settlement proposal. The Mediator may also continue a
              mediation that has been commenced if the Mediator determines that a
              continuation is in the best interest of the parties.

     26.      The parties must participate in the scheduling of mediation and mediate in good
              faith. If the Mediator feels that a party to the mediation is not attempting to
              schedule or resolve the mediation in good faith, the mediator may file a report
              with the Court. The Court may, without need for further motion by any party,
              schedule a hearing. If the Court determines that the party is not cooperating in
              good faith with the mediation procedures, the Court may consider the
              imposition of sanctions pursuant to Local Rule 9019-2. Additionally, if either
              party to the mediation is not attempting to schedule or resolve the mediation in
              good faith, the opposite party may file a motion for sanctions with the Court.
              Litigation with respect to the issuance of sanctions shall not delay the
              commencement of the mediation. Sanctions may include, but are not limited to,
              attorney’s fees and costs and fees of the Mediator.

     27.      Upon notice and a hearing, a party’s failure to appear at the mediation or
              otherwise comply with the Procedures Order with respect to mediation, may
              result in a default judgment or dismissal being obtained against the party failing
              to comply with the mediation provisions. The Mediator shall promptly file with
              the Court a notice when any party fails to comply with the mediation provisions
              set forth in the Procedures Order.

     28.      The fees and expenses of the Mediator shall be split equally by the parties on a
              per case basis, unless otherwise agreed by the parties in writing. The
              Mediator’s fees shall be fixed as follows:

              a. cases with a claim amount (as reflected in the complaint) of less than
                 $250,000: $5,000.00 per case;


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          b. cases with a claim amount (as reflected in the complaint) equal to or greater
             than $250,000 and less than $1,000,000: $6,500 per case; and

          c. cases with a claim amount (as reflected in the complaint) equal to or greater
             than $1,000,000: $8,000 per case.

   29.    Defendants that have multiple Avoidance Actions in the underlying bankruptcy
          cases against them may mediate all related Avoidance Actions at one time and,
          in such event, the Mediation Fee shall be based upon the combined total claim
          amount for all related Avoidance Actions.

   30.    Mediation statements are due 7 calendar days prior to the mediation to the
          Mediator. Unless otherwise directed by the Mediator, the mediation statements
          shall be shared with the opposing party, except that any party that has
          confidential information may share the same solely with the Mediator. The
          Mediator will direct the parties as to further instructions regarding the mediation
          statements.

   31.    Without the prior consent of both parties, no Mediator shall mediate a case in
          which he/she or his/her law firm represents a party. If a Mediator’s law firm
          represents any Defendant in the Avoidance Actions, then: (a) the Mediator shall
          not personally participate in the representation of that Defendant; (b) the law
          firm shall notate the file to indicate that the Mediator shall have no access to it;
          and (c) any discussions concerning the particular Avoidance Action by
          employees of the law firm shall exclude the Mediator. The Mediator’s
          participation in mediation pursuant to the Procedures Order shall not create a
          conflict of interest with respect to the representation of such Defendants by the
          Mediator’s law firm.

   32.    The Mediator shall not be called as a witness by any party except as set forth in
          this paragraph. No party shall attempt to compel the testimony of, or compel
          the production of documents from, the Mediators or the agents, partners or
          employees of their respective law firms. Neither the Mediators nor their
          respective agents, partners, law firms or employees (a) are necessary parties in
          any proceeding relating to the mediation or the subject matter of the mediation,
          nor (b) shall be liable to any party for any act or omission in connection with
          any mediation conducted under the Procedures Order. Any documents provided
          to the Mediator by the parties shall be destroyed 30 days after the filing of the
          Mediator’s Report, unless the Mediator is otherwise ordered by the Court.
          However, subject to court order, a Mediator may be called as witness by any
          party and may be compelled to testify on a limited basis in proceedings where
          it is alleged that a party failed to comply with mediation as is required in the
          foregoing paragraphs of this Procedures Order. Local Rule 9019-2 shall apply.

   33.    All proceedings and writing incident to the mediation shall be privileged and
          confidential, and shall not be reported or placed in evidence. Local Rule 9019-
          2 shall apply.

G. Initial Pretrial Conference; Avoidance Actions Hearings

    34.   The initial pretrial conference shall have been deemed to be held on August 8,
          2024 at 10:00 a.m. (ET). Thereafter, except as otherwise ordered by the Court,
          the pretrial conference shall be adjourned to future date(s), if any, as properly
          noticed.

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   35.    If, after all discovery has been completed in an Avoidance Action and mediation
          has concluded but was not successful, and any issues of fact or law remain after
          dispositive motions, if any, have been decided, the parties to the applicable
          Avoidance Action shall so inform the Court. At the next scheduled omnibus
          hearing or at such other date convenient to the Court, the Court will address
          additional issues arising subsequent to the Procedures Order, set additional
          deadlines, if necessary, establish a due date by which the parties must file a joint
          pretrial order, and schedule a trial on the Avoidance Action that is convenient to
          the Court’s calendar.

H. Miscellaneous

   36.    The Local Rules shall apply, except that the Procedures Order shall control with
          respect to the Avoidance Actions to the extent of any conflict with other
          applicable rules and orders.

   37.    The deadlines and/or provisions contained in the Procedures Order may be
          extended and/or modified by the Court upon written motion and for good cause
          shown or consent of the parties pursuant to stipulation, which stipulation needs
          to be filed with the Court; and it is further

   ORDERED, that this Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.




                                                 9
Exhibit 1




    10
Defendant Name                                           Adversary
                                                         No.
ABC Works, LLC                                           24-01229
Accertify, Inc.                                          24-01232
Action Plumbing, Inc.                                    24-01235
Aden & Anais, Inc.                                       24-01333
Adobe Systems Incorporated                               24-01238
Advanced Systems, Inc.                                   24-01240
AFS Global Freight Management, LLC                       24-01334
Agree Limited Partnership                                24-01243
Alight Solutions LLC                                     24-01335
American Textile Company, Inc.                           24-01388
Argo, Inc. dba ARGO-EFESO                                24-01250
Artsana USA, Inc.                                        24-01336
ASK Apparels                                             24-01253
Audio Visual Associates, Inc.                            24-01256
Aussie Bubs, Inc.                                        24-01339
Avanti Linens, Inc.                                      24-01258
Baby Delight, Inc.                                       24-01341
Baby Trend, Inc.                                         24-01344
BabyVision, Inc.                                         24-01260
Bacon & Graham, Inc.                                     24-01261
Belz Investco GP                                         24-01263
Best Chairs Incorporated                                 24-01349
Brabantia U.S.A. Inc.                                    24-01266
Brink's, Incorporated                                    24-01413
Britannica Home Fashions, Inc.                           24-01379
Britax Child Safety, Inc.                                24-01351
Broadspire Services, Inc.                                24-01269
Bundle of Dreams,LLC                                     24-01272
C & T International Inc.                                 24-01353
Caliber Americas LLC                                     24-01337
Capital Brands Distribution, LLC                         24-01381
Caraway Home, Inc.                                       24-01356
CBRE, Inc.                                               24-01276
Cellco Partnership dba Verizon Wireless                  24-01277
Children's Products LLC                                  24-01278
Clean Earth Environmental Solutions, Inc.                24-01279
Cleo Communications, Inc.                                24-01280
Clipper Corporation                                      24-01281
Columbus Trading-Partners USA Inc.                       24-01358
Complete Solutions and Sourcing, Inc.                    24-01338
Conair LLC dba Conair Corp. LLC                          24-01283
Concentric, LLC fdba Stangco Industrial Equipment, LLC   24-01340
Corptax, Inc.                                            24-01370

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Corvel Enterprise Comp, Inc.                            24-01296
Cuckoo Electronics America Inc.                         24-01298
Daniel J. Edelman, Inc.                                 24-01304
Data Networks of America, Inc.                          24-01307
DataPipe, Inc.                                          24-01369
DecisionPoint Systems, Inc.                             24-01308
Delta Enterprise Corp. dba Delta Enterprise Import      24-01391
Design Ideas, Limited                                   24-01311
Devgiri Exports, LLC                                    24-01359
Discovery Refuse Management, Inc.d ba DRM Waste         24-01314
Management
DocuSign, Inc.                                          24-01319
DoorDash, Inc.                                          24-01322
Dream on Me, Inc.                                       24-01324
Drinkpod LLC                                            24-01329
Engineered Network Systems, Inc.                        24-01328
Equifax Workforce Solutions LLC fdba Talx Corporation   24-01342
Evenflo Company, Inc.                                   24-01360
EvensonBest LLC                                         24-01327
Federal Heath Sign Company, LLC                         24-01326
Flexprint, LLC                                          24-01325
Focal Point South Consulting Inc.                       24-01323
Foresold LLC.                                           24-01401
Foundations Worldwide, Inc.                             24-01361
Fridababy, LLC                                          24-01364
Furniture Store Express, Inc.                           24-01321
Garda CL Atlantic, Inc.                                 24-01414
Gartner, Inc.                                           24-01371
Geometric Results, Inc.                                 24-01320
Gotham Technology Group, LLC                            24-01318
Gourmet Settings Inc.                                   24-01366
Groupby USA Inc.                                        24-01317
Halo Innovations, Inc.                                  24-01368
Handi-Craft Company                                     24-01316
Hatch Baby, Inc.                                        24-01374
Hawaii Medical Service Association                      24-01315
Headspace, Inc.                                         24-01372
HMM (America), Inc. fdba H.M.M. Co., Inc.               24-01313
Hoobei USA, Inc.                                        24-01312
Hub Group, Inc. dba Nonstop Delivery                    24-01310
Hundley Lane Group Inc.                                 24-01417
iEnjoy LLC                                              24-01309
IMC Companies, LLC fdba Pacific Dryage Services LLC     24-01306
Infosys Limited                                         24-01305
Intelligrated Systems, LLC                              24-01303

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Intralinks, Inc.                                          24-01302
Irwin Naturals; and Performance Sales & Marketing, Inc.   24-01402
Johanson Transportation Service                           24-01300
JTS Capital Realty 2 LLC                                  24-01299
Kids II Far East Limited                                  24-01297
Laural Home LLC                                           24-01295
Le Creuset of America, Inc.                               24-01294
Legacy Companies LLC fdba EdgeCraft Corp.                 24-01403
Levin Management Corporation                              24-01293
LHI, Inc. fdba LumiSource, Inc.                           24-01292
M & L Enterprise Group Inc.                               24-01345
M Design Village, LLC                                     24-01375
M&D Real Estate, LP                                       24-01346
M. Booth & Associates LLC                                 24-01418
MagicLinks, Inc.                                          24-01291
Maintenx International Service Management Group, Inc.     24-01290
Managed Business Communication Inc.                       24-01289
Maxwell Builders, Inc.                                    24-01288
MercuryGate International, Inc.                           24-01347
Meridian Compensation Partners, LLC                       24-01287
MicroStrategy Incorporated                                24-01286
Miele, Incorporated                                       24-01404
Milk Street Products, LLC                                 24-01376
Mirakl Incorporated                                       24-01285
MLO Great South Bay LLC                                   24-01348
Mobile Mini Texas Limited Partnership                     24-01284
Monahan Products, LLC                                     24-01378
Monica & Andy, Inc.                                       24-01282
NASDAQ Corporate Solutions, LLC                           24-01275
NCR Corporation                                           24-01377
Nespresso USA, Inc.                                       24-01380
Noritake Co., Inc.                                        24-01273
NP New Castle, LLC                                        24-01271
Oliver Wyman, Inc.                                        24-01270
OneTrust LLC                                              24-01268
OnPoint Capital, LLC                                      24-01350
Oogie Solutions LLC                                       24-01382
Open Text, Inc.                                           24-01267
ORF V Sugar Creek Plaza, LLC                              24-01352
Owlet Baby Care Inc.                                      24-01385
OXO International, Inc. dba OXI International Ltd.        24-01387
Pearhead, Inc.                                            24-01390
Pem-America, Inc.                                         24-01265
Perrysburg Enterprises, Inc.                              24-01264
Pivotal 650 California ST., L.L.C.                        24-01354

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Platinum Security, Inc.                                24-01262
Poly-Wood, LLC                                         24-01259
Port City Logistics Inc.                               24-01257
Premier Brands of America Inc.                         24-01393
Protiviti Inc.                                         24-01255
Rackspace Technology Global, Inc. fdba Rackspace       24-01254
Hosting, Inc.
Ranch Town Center, LLC                                 24-01252
Raymond Accounts Management, Inc.                      24-01251
RB Health US LLC                                       24-01405
Regal Home Collections Inc.                            24-01249
Regalo International, LLC                              24-01248
Retail Zipline, Inc.                                   24-01247
Riskified, Inc.                                        24-01246
ROOT Technology ltd.                                   24-01245
RXO Corporate Solutions, LLC                           24-01244
Safavieh Intl LLC                                      24-01242
SASR Workforce Solutions, LLC                          24-01419
Scentsible, LLC dba Poo-Pourri                         24-01392
Schindler Elevator Corporation                         24-01241
Schneider Logistics, Inc.                              24-01420
Schneider National, Inc.                               24-01355
Sealed Air Corporation (US)                            24-01421
Securitas Electronic Security, Inc.                    24-01412
Shelterlogic Corp.                                     24-01406
Simply Mommy LLC                                       24-01395
Smart Trike USA LLC                                    24-01239
SodaStream USA Inc.                                    24-01400
Spectrum Brands, Inc. fdba Applica Consumer Products   24-01407
St. George Distribution Corp.                          24-01415
Stokke, L.L.C.                                         24-01397
Storebound LLC                                         24-01237
Storflex Holdings, Inc.                                24-01236
Stork Craft Manufacturing Inc.                         24-01410
Studio Mococo LLC                                      24-01234
Summerlin Operating Company, LLC                       24-01233
Sumo Logic, Inc.                                       24-01357
Sunham Home Fashions, LLC                              24-01408
Taft Associates                                        24-01231
Taylored Transload, LLC                                24-01230
The Boppy Company, LLC                                 24-01398
The Centre at Deane Hill GP                            24-01362
The Family Center                                      24-01228
The Haddad Apparel Group, Ltd.                         24-01394
The Honest Company, Inc.                               24-01396

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The Step2 Company, LLC                                    24-01383
Thorley Industries LLC dba 4moms                          24-01399
T-Mobile USA, Inc,                                        24-01227
Tote Maritime Alaska, LLC fdba Totem Ocean Trailer        24-01226
Express
Trilliant Food and Nutrition, LLC                         24-01409
Triple B Mssion Viejo LLC                                 24-01225
Twilio Inc.                                               24-01224
US Maintenance                                            24-01223
Valley & Plainfield Associates, L.P.                      24-01222
Verizon Business Network Services LLC                     24-01416
Verizon Communications Inc.                               24-01363
W & H Systems, Inc.                                       24-01422
W.R. Partners, L.L.C.                                     24-01221
W.W. Grainger, Inc. dba Grainger                          24-01220
Walker Edison Furniture Company LLC                       24-01219
Weingarten Nostat, LLC fdba Weingarten Nostat, Inc.       24-01365
Westwood Design, Inc.                                     24-01389
Willis Towers Watson Northeast, Inc. fdba Willis of New   24-01218
York, Inc.
WompMobile, Inc.                                          24-01217
Workiva Inc.                                              24-01216
World Distribution Services LLC                           24-01367
YSM-Ponderosa, LLC                                        24-01215
Yusen Logistics (Americas) Inc.                           24-01214
Zadro, Inc.                                               24-01384
Zero Technologies, LLC                                    24-01411
Zwilling J.A. Henckels, LLC                               24-01386




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